Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 1 of 88 Page ID #:1

        S/N/I

   1   Bruce Westin (Pro-Per)                                               FILED
       5757 Wayne Newton Blvd. #11721                             CLERK, U.S. DISTRICT COURT

   2   Las Vegas, NV 89111
   3
       702-758-5630
       Brucewestin01@gmail.com
                                                                        7/6/22
   4                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                          EEE
                                                                  BY: ___________________ DEPUTY

   5
   6                               U.S. DISTRICT COURT

   7                             Central District of California
   8   Bruce Westin                                 Case No.:
   9                                            2:22-CV-04600-FMO(GJSx)
                    Plaintiff,                      COMPLAINT FOR VIOLATION
  10         v.                                     OF (1) 18 U.S. CODE
                                                    1962(c)   (2) Violation
  11                                                of Civil Rights 42 U.S.
       Federal Deposit Insurance                    Code 1983
  12   Corporation,
  13                                                Judge:
       Federal Reserve,
  14
       BankIowa
  15
  16
       Defendants
  17                              I. NATURE OF THE CASE

  18
       1.   Plaintiff’s real property located at 1142 110 th Ave., Dundee,
  19
       Iowa has been the subject of TEN fake purchase contracts
  20
  21   submitted by licensed realtors between May 2018 and August 2019.

  22
  23
       2.   The purpose of these fake offers appears to be to cause
  24
       Plaintiff financial loss through seller paid-for inspections and
  25
       other associated fees.
  26
  27
  28


                                              -1-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 2 of 88 Page ID #:2




   1   3.   Nine of the ten fake offers had virtually no chance of

   2   succeeding because they were based on near zero down loans (FHA
   3
       or VA) which had restrictive covenants against purchasing older
   4
       rural homes that utilize water wells or septic systems.
   5
   6
   7   4.   The 10th fake offer submitted on August 20th 2019 included a

   8   proof of funds statement from defendant BankIowa purporting to

   9   be an all cash offer for $40,000 drawn from a BankIowa checking
  10
       account.
  11
  12
       5.   The 10th fake offer contained no earnest money and included
  13
  14   an amendment stating that if Plaintiff failed to fulfill the

  15   contract he would be responsible for all Buyer’s brokerage fees.
  16   This would be equivalent to signing a blank check as the fees
  17
       were not specified.
  18
  19
       6. More importantly there appears to be a problem with the
  20
  21   checking account number issued by BankIowa – it’s only 7 digits

  22   long. There is strong circumstantial evidence BankIowa was a
  23   participant in this scam and Plaintiff requests The District
  24
       Court compel defendants (FDIC or Federal Reserve) to verify said
  25
       bank account.
  26
  27
  28


                                          -2-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 3 of 88 Page ID #:3




   1   7. Verifying said bank account should be rather easy by looking

   2   at how the account was funded. Unfortunately, up until now
   3
       neither the FDIC nor the Federal Reserve know who oversees
   4
       BankIowa.
   5
   6
   7   8. Additionally, Delaware County Iowa appears to suffer from a

   8   high degree of fraud and corruption. Nearly every transaction,

   9   from the Department of Motor Vehicles purposely failing
  10
       Plaintiff’s eye exam to the local concrete company (Bard
  11
       Materials) purposely sabotaging a load of concrete which was
  12
       later reimbursed – the bank account in question and the TEN
  13
  14   purchase offers herein are just not REAL. Nearly the entire town

  15   operates as an organized crime group/ Taliban.
  16
  17
                                     RICO Statute
  18
  19
       9. Plaintiff chooses to prosecute this case under the RICO
  20
  21   statute due to the large number of individuals involved (over

  22   one dozen realtors and fake straw buyers)
  23
  24
       10.   BankIowa’s Proof of Funds letter is LIKELY part of a bigger
  25
       scam to defraud the Plaintiff. The group of individuals involved
  26
  27   in submitting TEN fake offers appears to operate like some sort

  28   organized theft group (criminal organization) and every one of


                                          -3-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 4 of 88 Page ID #:4




   1   their names should be included in this lawsuit but for the time

   2   being Plaintiff is only suing BankIowa.
   3
   4
   5
                              II.   PARTIES and JURISDICTION
   6
   7
               11.   Plaintiff is a resident of the state of Nevada and his
   8   mailing address is 5757 Wayne Newton Blvd. #11721 Las Vegas, NV
   9   89111
  10
  11           12.   Defendant Federal Reserve is a government entity with
  12   offices at 950 South Grand Avenue, Los Angeles, CA 90015

  13
  14           13.   Defendant Federal Deposit Insurance Corporation is a
  15   government entity with offices at 25 Jessie Street at Ecker
  16   Square, San Francisco, CA 94105

  17
  18           14.   Defendant, BankIowa is a Corporation conducting
  19   business in the state of Iowa at 7045 C AVE NE., CEDAR RAPIDS,

  20   Iowa, 52402

  21
  22           15. Plaintiff brings his complaint under federal diversity
  23   jurisdiction, 28 U.S.C. 1332, as the parties are completely

  24   diverse in citizenship and the amount in controversy exceeds

  25   $75,000.

  26
  27
  28


                                           -4-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 5 of 88 Page ID #:5




   1                          III. FACTUAL ALLEGATIONS

   2
   3
            16.     Plaintiff received TEN fake purchase offers for real
   4
       property located at 1142 110th Ave., Dundee, Iowa between May
   5
       2018 and August 2019.
   6
   7
   8        17. Well over one dozen individuals were involved in either

   9   submitting fake offers or the procurement of fake documents.
  10
  11
            18. Fake offers #1 through #9 could not have succeeded
  12
       because most low money down loans (FHA, VA) contain loan
  13
  14   covenants that prevent the purchaser from buying an older rural

  15   home. A bona-fide home buyer would need either cash or a
  16   conventional home loan with at least a 20% down payment.
  17
  18
            19. During this time said criminal organization sabotaged
  19
       any chance Plaintiff had of selling his property by telling
  20
  21   potential buyers the home had “title problems” or “structural

  22   problems.”
  23
  24
            20.     After over a year of submitting unsuccessful fake
  25
       purchase offers said criminal organization became inpatient and
  26
  27   created a fictitious cash offer known herein as Fake Offer #10

  28


                                          -5-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 6 of 88 Page ID #:6




   1                                   Fake Offer #10

   2
   3
            21. Fake Offer #10 was an all cash offer for $40,000
   4
       (Exhibit A) which included a Proof of Funds Letter from BankIowa
   5
       stating buyer had at least $40,000 cash in his checking account
   6
   7   (Exhibit B).

   8
   9        22. However, said checking account is unusual in that it
  10
       contains only 7 digits. Plaintiff contacted Tracy Ramos at
  11
       BankIowa to confirm said Proof of Funds Letter and Ms. Ramos
  12
       sounded very nervous.
  13
  14
  15        23. Though this may all be circumstantial evidence,
  16   Plaintiff feels it is strong circumstantial evidence. That an
  17
       organized group of over one dozen individuals who manufactured
  18
       FAKE purchase contracts could conceivably have INSIDE access to
  19
       BankIowa.
  20
  21
  22        24. Fake Offer #10 contained no earnest money and required
  23   seller to pay all fees. Additionally Fake Offer #10 contained an
  24
       additional amendment stating Plaintiff would be responsible for
  25
       the Broker’s full commission if said sale was not completed, yet
  26
  27   the broker’s commission was not listed in the contract.

  28


                                          -6-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 7 of 88 Page ID #:7




   1              Federal Deposit Insurance Corporation and the Federal

   2                                Reserve Board
   3
   4
            25.    Plaintiff shared his concerns about BankIowa and the
   5
       likely fraudulent Proof of Funds Statement with the Federal
   6
   7   Deposit Insurance Corporation (FDIC) and Federal Reserve.

   8
   9        26. On November 30th, 2021 the FDIC issued a written
  10
       response stating they are not responsible for BankIowa and to
  11
       contact the Federal Reserve Board (Exhibit C).
  12
  13
  14        27. On June 20th 2022 the Federal Reserve issued a written

  15   response stating they are not responsible for BankIowa and to
  16   contact the FDIC (Exhibit D).
  17
  18
            28.    Both the FDIC and Federal Reserve appear to be rather
  19
       dysfunctional, neither appears to know who oversees BankIowa,
  20
  21   yet BOTH organizations likely have the authority to very easily

  22   verify the authenticity of said account.
  23
  24
  25
  26
  27
  28


                                          -7-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 8 of 88 Page ID #:8




   1   IV. CAUSES OF ACTION - First CAUSE OF ACTION AGAINST FDIC

   2   Failure to Protect, Violation of Civil Rights 42 U.S. Code 1983
   3
   4
          29. The FDIC’s mission statement is to “insure deposits;
   5
       examine and supervise financial institutions for safety,
   6
   7   soundness, and consumer protection.”

   8
   9      30. The FDIC has failed in their mission to protect the
  10
       consumer in this case.
  11
  12
          31. Plaintiff humbly asks this court compel the FDIC to
  13
  14   examine account #9316894 to determine (1) does the account exist

  15   (2) how was the account funded (i.e. check, cash, ect) and (3)
  16   if by check can said checks be verified?
  17
  18
               SECOND CAUSE OF ACTION AGAINST the FEDERAL RESERVE
  19
       Failure to Protect, Violation of Civil Rights 42 U.S. Code 1983
  20
  21
  22        32. The Federal Reserve’s mission statement states in part
  23   to “Supervise and Regulate Financial Institutions and
  24
       Activities.”
  25
  26
  27        33. The Federal Reserve has failed in it’s mission

  28   objectives.


                                          -8-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 9 of 88 Page ID #:9




   1
   2        34. Plaintiff humbly asks this court compel the Federal
   3
       Reserve to examine account #9316894 to determine (1) does the
   4
       account exist (2) how was the account funded (i.e. check, cash,
   5
       ect) and (3) if by check can said checks be verified?
   6
   7
   8                 THIRD CAUSE OF ACTION AGAINST BANKIOWA,
   9
  10                     Violation of 18 U.S. CODE 1962(c)

  11
  12
            35. When/if it is determined account #9316894 did NOT have
  13
       $40,000 and is NOT real (just like the previous TEN fake
  14
       purchase contracts) management at BankIowa needs to take
  15
  16   responsibility for their participation in this real estate scam

  17   and any other scams they have participated in.
  18
  19
  20
  21
  22
  23
  24
  25
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  27
  28


                                          -9-
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 10 of 88 Page ID #:10




    1   Summary of Fake Purchase Offers for 1142 110 th Ave. Dundee, Iowa

    2
    3                             Fake Offer #1 (5-25-18)
    4
    5
             37. Realtor White submits Fake Offer #1 – May 25 th 2018.
    6
    7   Offer states well to be safe for infants (Exhibit #1 page 2)

    8   which Plaintiff    explains to Realtor White “I cannot comply

    9   with.” Offer also asks for septic inspection which is not
   10
        required as septic is still considered new.
   11
   12
             38. Counter Offer #1 (Exhibit #2) incorrectly states septic
   13
   14   inspection is good until September when correct date is

   15   November. Counter does not address well water contingency.
   16
   17
             39. Shadow Counter Offer #1 (Exhibit #3) also does not
   18
        remove well water contingency.
   19
   20
   21        40. Counter Offer #2 (Exhibit #4) Does not address well

   22   water or septic contingency.
   23
   24
             41. Counter Offer #3 (Exhibit #5) does not clearly remove
   25
        well water contingency or     septic inspection
   26
   27
   28


                                           - 10 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 11 of 88 Page ID #:11




    1         42. Counter Offer #4    (Exhibit #6) appears to remove well

    2   contingency but does not address the septic inspection and is
    3   time voided anyway.
    4
    5
              43. Realtor White continues to state septic does not need
    6
    7   to be inspected even though the final counter does not address

    8   this contingency.

    9
   10
              44. Text from White 5-29 9:16 a.m. states septic does not
   11
        need retest (Exhibit #7 - White Texts highlighted)
   12
              Listing contract with Realtor White is cancelled.
   13
   14
   15                             Fake Offer #2 (7-28-18)
   16
   17
              45. Listing Agent Heather submits Fake Offer #2 (Exhibit
   18
        #8)
   19
   20
   21         46. Offer is based upon a VA loan which doesn’t qualify

   22   because the ground water has high nitrates
   23
   24
              47. Offer contains large inspection fees including septic
   25
        which does not yet require inspection
   26
   27
   28


                                           - 11 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 12 of 88 Page ID #:12




    1         48. Realtor Heather states “no septic inspection fees”

    2   which is not true. (Exhibit #9 -Heather emails 7-28 highlighted)
    3
    4
                                  Fake Offer #3 (8-13-18)
    5
    6
    7         49. Listing Agent Heather submits Fake Offer #3 (Exhibit

    8   10)

    9
   10
              50. Offer based upon FHA loan
   11
   12
              51. Offer requires a septic inspection (Exhibit #11 - line
   13
   14   85)

   15
   16         52. However the same line written in the margin is a note
   17
        “test already performed”
   18
              It’s not clear what inspection is required
   19
   20
   21         53. Offer rejected because FHA loan does not qualify.

   22         Listing contract with realtor Heather is cancelled.
   23
   24
   25
   26
   27
   28


                                           - 12 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 13 of 88 Page ID #:13




    1                             Fake Offer #4 (9-14-18)

    2
    3
             54. Listing Agent Troy submits Fake Offer #4 (Exhibit #12)
    4
        Loan type not indicated.
    5
    6
    7        55. Septic addendum checked on contract but not included

    8   (Exhibit #13)

    9
   10
             56. September 20th Troy replies “the septic shouldn't need
   11
        inspection” (Exhibit #14 - Olson 9-19 highlighted emails)
   12
   13
   14        57. September 20th Septic addendum states seller pays

   15   septic inspection (Exhibit #14A)
   16
   17
             58. September 21st Troy sends cancellation form that
   18
        requires payment to CANCEL listing(Exhibit #14B)
   19
   20
   21        Listing contract with Troy is cancelled, Troy is not Paid

   22
   23                              Fake Offer #5 (1-3-19)
   24
   25
             59. Listing Agent Diane receives Fake Offer #5 submitted by
   26
   27   Realtor Teresa ( Exhibit #15)

   28        Offer based upon USDA Loan


                                           - 13 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 14 of 88 Page ID #:14




    1
    2          60. Large closing costs associated with contract (Exhibit
    3
        #16)
    4
    5
               61. Realtor Diane says offer wont work with USDA loan
    6
    7   (Exhibit #17    page 3)

    8
    9          62. Realtor Diane later suggests USDA loan will work
   10
        (Exhibit #17 page 5)
   11
   12
               63. Offer rejected as it’s not likely USDA loan will work.
   13
   14
   15
   16                             Fake Offer #6 (1-11-19)
   17
   18
               64. Realtor Diane submits Fake Offer #6 (Exhibit #18)
   19
   20
   21          65. Offer based on Conventional loan with 0-3% down

   22   (Exhibit #18)
   23
   24
               66. Buyer states he is waiving inspections (Exhibit #20)
   25
   26
               67. Multiple boxes are checked under buyer home inspections
   27
   28   (Exhibit #21)


                                           - 14 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 15 of 88 Page ID #:15




    1
    2          68. Addendum has multiple boxes checked under home
    3   inspection page 1 and under septic inspection page 2 (Exhibit
    4
        #22). It’s not clear what inspections are required.
    5
    6
    7          69. January 14th Realtor Diane writes “well and septic

    8   contingencies have been satisfied” and she suggests instead of

    9   having buyer re-sign to just add to existing addendum (Exhibit
   10
        #23 - emails highlighted)
   11
   12
               70. Offer is rejected 1-16
   13
   14          Listing contract with Diane is canceled

   15
   16                              Fake Offer #7 (4-8-19)
   17
   18
               71. Listing Agent Teri forwards Fake Offer #7 submitted by
   19
        Realtor Teresa April 8th 2019 (Exhibit #25)
   20
   21
   22          72. Offer already submitted 1-5 by Realtor Teresa
   23
   24
               73. Vague preapproval, downpayment not specified (Exhibit
   25
        #25)
   26
   27          74. Contract contains large inspection fees (Exhibit #27)

   28


                                            - 15 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 16 of 88 Page ID #:16




    1        75. Teri suggests countering (Exhibit #28 emails

    2   highlighted last page)
    3
    4
             76. April 10th    Counter Offer submitted by buyer - dates and
    5
        signature not updated only the old price is crossed out and new
    6
    7   price increased to $78,400 (Exhibit #29)

    8
    9        77. April 15th Teri reveals this a 3% down loan (Exhibit #30
   10
        - emails highlighted page 1)
   11
   12
             78. April 15th Teri explains banks dont reveal loan
   13
   14   terms/amounts (Exhibit #30 emails highlighted, page 2)

   15        79. April 18th Teri says if I dont sign contract my house
   16   will be black balled (Exhibit #30 -emails highlighted page 4)
   17
   18
                                   Fake Offer #8 (5-5-19)
   19
   20
   21        80. Realtor Teri submits Fake Offer #8 (Exhibit #33)

   22
   23        81. Realtor Teri writes she will not disclose buyer’s loan
   24
        terms/fees (Exhibit #34 - emails highlighted)
   25
   26
   27        82. It’s not likely this is a conventional loan as

   28   requested.


                                           - 16 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 17 of 88 Page ID #:17




    1
    2        83. May 6th Teri writes I have wrongly judged buyers and
    3
        she will quit
    4
                                  Fake Offer #9 (8-20-19)
    5
             84. August 20th realtor Teresa submits Fake Offer #9
    6
    7
    8        85.   Addendum states septic inspection is required and to

    9   be paid for by seller (Exhibit #35)
   10
   11
             86. Realtor Turner writes septic inspection is not required
   12
        (Exhibit #36 - emails 8-20 highlighted) which is not true per
   13
   14   above addendum.

   15
   16        87. Realtor Turner is unable to produce the terms and
   17
        conditions of Buyer’s loan to confirm this is a conventional
   18
        loan (which it probably is not). Offer is rejected.
   19
   20
   21
   22                             Fake Offer #10 (8-20-19)
   23
   24
             88. Realtor Danielle submits Fake Offer #10 (Exhibit #37).
   25
   26
             89. August 20th realtor Danielle submits an amendment which
   27
   28   states seller must pay buyer’s broker fees if seller fails to


                                           - 17 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 18 of 88 Page ID #:18




    1   fulfill contract and a “unrepresented sellers sheet” is supposed

    2   to be included with the contract, which is missing (Exhibit #38
    3
        -amendment highlighted)
    4
             This is basically a blank check for realtor Danielle.
    5
        Contract appears to be written to FAIL
    6
    7
    8        90. Buyer submits questionable Proof of Funds Letter from

    9   BankIowa, checking account number is only 7 digits long (Exhibit
   10
        39). BankIowa confirms said Proof of Funds, however bank teller
   11
        appears very nervous?
   12
   13
   14
   15
   16
   17
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   19
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   28


                                           - 18 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 19 of 88 Page ID #:19




    1                               PRAYER FOR RELIEF

    2
    3
          WHEREFORE, Plaintiff respectfully requests judgment against
    4
          Defendants and injunctive relief to:
    5
    6
    7     1. Compel the Federal Reserve or Federal Depository

    8        Insurance Corporation to exam BankIowa Account #9316894 to

    9        determine (1) does the account exist (2) how was the
   10
             account funded (i.e. check, cash, ect) (3) if by check can
   11
             said checks be verified? And provide satisfactory proof of
   12
             work.
   13
   14
   15     2. When/if it is determined account #9316894 was fake order
   16        Compensatory damages against BankIowa for Plaintiff’s loss
   17
             on Iowa real property due to defendant’s participation in
   18
             said real estate scam.
   19
   20
   21     3. When/if it is determined account #9316894 was fake order

   22        Punitive damages against BankIowa for Plaintiff’s loss on
   23        Iowa real property due to defendant’s participation in said
   24
             real estate scam.
   25
   26
   27
   28     4. Relevant costs and attorneys fees.


                                           - 19 -
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 20 of 88 Page ID #:20




    1
    2     5. Damages to be determined at trial.
    3
    4
    5
    6
    7   Dated: June 19th 2022

    8                                     __________________________,

    9                                               Bruce Westin, Plaintiff
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
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                                           - 20 -
dotloop signature verification: dtlp.us/87N6-mc3r-O6d1

                 Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 21 of 88 Page ID #:21




                                                                  PURCHASE/SALE CONTRACT
         I/We request that (Co.) Skogman Realty                                 or any of its employees, agents or associates select, prepare and complete
         the form documents as authorized by Iowa law or by the Iowa Supreme Court Rule, such as purchase agreements, groundwater hazard, and
         declaration of value incident to a residential real estate transaction. The signing of this Contract creates important rights and liabilities on
         the part of both the Seller(s) and the Buyer(s). If you have concerns regarding your rights and liabilities you are encouraged to seek
         competent legal advice.


         1. Prepared by: Danielle Hutchinson                                  Please check appropriate representation:        Buyer(s)      Seller(s)     Dual Agency

         2. Date: 08/20/2019                                                        Time: 10:50                a.m./   p.m. The undersigned Buyer(s) hereby offers
         3. the following terms for the purchase of the following property: Parcel #: 080080000500; 080070002000
         4. Address: 1142 110th Avenue                                                          City: Dundee                        , Iowa. Zip Code: 52038
         5. Abbreviated legal description: PARCELS A & B PT SW NW; PARCEL A PT SE NE
         6.                                                                                                             , Delaware County                 County, Iowa
         7. subject to public highways, covenants, easements, restrictions and zoning, if any.
         8. PURCHASE PRICE to be: $ 40,000                                                   and the method of payment as follows: $ 0
         9. earnest money and an additional amount of earnest money of $ 0                  payable by (date) N/A
         10. Upon the acceptance of this Contract, total earnest money is to be paid to and will be cashed, deposited, and held in Trust by the Listing
         11. Broker. In the event this Contract is not acceptable to both Buyer(s) and Seller(s) OR all contingencies or sub-contingencies are not met
         12. in a timely manner as specified below, then said earnest money is to be returned to Buyer(s).
         13. CLOSING: shall be on (date) 09/20/2019                                         or sooner by mutual agreement.

         14. POSSESSION: To be given           at time of closing or   on (date)                                         (time)                    a.m./            p.m.
         15. If for any reason the closing is delayed, the Buyer(s) and Seller(s) may make a separate agreement with adjustments as to the date of
         16. possession in the form of an amendment or interim occupancy agreement. Any unpaid balance, rents, interest or insurance, for these
         17. purposes, shall be adjusted as of the date of possession and shall bear interest at the rate of             % per annum.
         18. The balance of the purchase price shall be paid as indicated below. Select below all that apply, (A) through (H):
         19.    A. NEW LOAN: This Contract is subject to and contingent upon the Buyer(s) obtaining a commitment in writing for a (type):
         20.             Conv        FHA        VA       Other               - loan for not greater than               % of the purchase price with an interest rate at
         21.                       % or less with a term of              years.
         22.            The above referenced loan is a nonconforming conventional (B, C, D) loan.
         23.         Buyer(s) agrees to pay all customary loan costs. Buyer(s) agrees, upon the final acceptance of this Contract, to make application
         24.         within three (3) business days for such loan with a lender and to make a good faith effort to obtain a loan commitment as stated.
         25.         above. If Buyer(s) has NOT obtained full written commitment, including appraisal or loan denial, on or before
         26.         (date)                , this contract shall become null and void unless both parties have agreed to a timely signed extension.
         27.         Buyer(s) agrees to immediately initiate an amendment, subject to Seller’s approval, to this Purchase/Sales Contract in the
         28.         event there are any changes in terms or type of financing. Failure to do so may make this contract voidable at Seller’s option.
         29.      B. Buyer(s) has credit pre-approval from                                                 (lender),                                    (loan originator)
         30.         subject to the terms and conditions of the attached pre-approval letter.
         31.      C. If this property does not appraise, on or before (date)                                   at the purchase price or greater, then this contract
         32.         may be voidable at the Buyer’s option within five (5) business days of receipt of the appraisal.
         33.      D. Assumption of Seller’s loan or contract/Contract for Deed: See attached Financing Addendum (CRAAR Form 18a).
         34.      E. Cash: Buyer(s) will pay the balance of the purchase price in cash at the time of closing with adjustment for closing costs to be
         35.         either added or deducted from this amount. This Contract is not contingent upon Buyer(s) obtaining such funds in order to close.
         36.         Buyer(s) also agrees to provide, within three (3) business days, verifiable evidence of the availability of the funds needed to
         37.         buy and close, subject to Seller(s)’ approval within one (1) business day of receipt.
         38.      F. This offer is contingent upon and subject to Buyer(s) closing and obtaining proceeds from the sale of his/her home located at:
         39.          (address)
         40.          The Buyer’s property identified above at “F” is:
         41.             currently listed with a Broker and ACTIVE on the market.
         42.             currently NOT listed with a Broker nor on the market.		                  currently NOT listed with a Broker but on the market.
         43.              under contract with all contingencies to be released by (date)                    and expected closing no later than (date)
         44.      G. Other Financing terms and/or Concessions:
         45.
                      This cash offer is for purchase of two parcels, see parcel numbers on line 3 and legal description for
                      both parcels on line 5.
         46.
                                                             TS
                       Buyer’s Initials         08/20/19                             Seller’s Initials
                Form 018 - Purchase/Sale Contract
                                             dotloopPage
                                                     verified 1 of 4 ©Copyright Cedar Rapids Area Association of REALTORS 2019 Revised 07/01/2019
                                              11:07 AM CDT




                                                                       (Exhibit A - Page 1)
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                 Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 22 of 88 Page ID #:22
                                                                            Form 018 - Purchase/Sale Contract Page 2 of 4
      Subject Property Address 1142 110th Avenue                                                              , Dundee                                                    , Iowa
      47.    H. Insurance: Subject to buyer obtaining an acceptable insurance estimate/bid within 7 business days of accepted offer.
      48. JOINT TENANCY: If Seller’s title is held in joint tenancy with full rights of survivorship, this Contract shall not sever such joint tenancy.
      49. Upon the death of one or more of the joint tenants, payments shall be made to the survivor(s).
      50. BUYER(S) HEREBY STATES HIS DESIRE TO TAKE TITLE IN THE FOLLOWING MANNER:

      51.        Joint Tenants Tenants In Common         As A Single Person          Other
      52. USE OF THESE PREMISES: At option of the Buyer(s), this Contract is void unless, at time of settlement, Buyer(s) is permitted under
      53.   existing zoning and any restrictive covenants to use these premises for Primary Residence                                                           .
      54.   THIS CONTRACT            is    is not contingent upon and subject to Buyer(s) receiving within three (3) business days of acceptance of this
      55.   Contract the restrictive covenants for this property. Upon receipt, Buyer(s) has three (3) additional business day to approve said covenants.
      56.   DUTIES OF THE PARTIES:
      57.         A. The Broker, his Agents and employees make no representations or warranties as to the physical condition of the property,
      58.             its size, future value or income potential.
      59.         B. Seller(s) and Buyer(s) acknowledge that the Seller(s) of real property has a legal duty to disclose Material Defects of which the
      60.             Seller(s) has actual knowledge and which a reasonable inspection by the Buyer(s) would not reveal.
      61.   CONDITION OF PROPERTY: Federal Law (known as Title X) requires notification of potentially dangerous levels of lead-based paint in
      62.   properties built before 1978 (See Lead-Based Paint Disclosure). If applicable, the Seller(s) will provide the Buyer(s) with copies of any
      63.   records or prior test results pertaining to lead-based paint findings.
      64.         A. The property as of the date of this Contract, including buildings, grounds, and all improvements, will be preserved by the Seller(s) in
      65.             it’s present condition until possession, ordinary wear and tear excepted.
      66.         B. The Seller(s) warrants that the property will be maintained in its current condition as of the date of this contract per attached property
      67.             disclosure, if applicable.
      68.         C. PROPERTY INSPECTIONS: These inspections are not to be construed as inspections to bring an older home into compliance
      69.             with the current local building codes. These inspections are only intended to discover any major structural, mechanical, safety
                                                                TS
      70.              and health related issues. 08/20/19                    (buyer’s initials) The Buyer’s obligation to close this transaction is contingent
      71.              upon the Buyer(s) obtaining,dotloop
                                                    at Buyer’s
                                                           verified expense, inspection reports. The inspection period following the date of acceptance shall
                                                    11:07 AM CDT


      72.              commence on the first business day following the “day of acceptance”. Such inspection period shall not exceed 15                         business days.
      73.               1. BUYER(S) SELECTS A WHOLE HOUSE INSPECTION to determine the material physical condition of the house, land,
      74.                  improvements, fixtures, equipment, any additional structures and any hazardous conditions on the real estate. For any and all
      75.                  inspections, Seller(s) agree to have all utilities on and major mechanicals and equipment functional.
      76.               2. BUYER(S) WAIVES A WHOLE HOUSE INSPECTION and chooses only:
      77.                       Air Conditioning             Structural		                              Roofing		                  Other
      78.                       Heating		                    Plumbing		                                Lead-base Paint		          Other
      79.                    Electrical		      Asbestos		            Sewer Lines		                                                Other
      80.               3. BUYER(S) WAIVES THE REAL ESTATE INSPECTIONS: Listed in 1 and 2 above.
                                                                                    dotloop verified
      81.		 Signature(s) Todd Spellerberg            08/20/19 11:17 AM
                                                     CDT
      82. D. ADDITIONAL INSPECTIONS
      83.     1. A WELL WATER QUALITY TEST to meet local county health standards, will be ordered and paid for upon completion by:
      84.                    Buyer(s)     N/A - and provided no later than (date)                                    .
      85.               2. A SEPTIC SYSTEM INSPECTION: The septic system shall be inspected and approved for real estate transfer by a licensed DNR
      86.                  inspector as required by Iowa Code 455B.172 (unless exempt) to be ordered and paid for by  Seller(s) or  Buyer(s)     N/A and
      87.                  provided no later than (date)                                                              .
      88.               3. A RADON TEST will be ordered and paid for upon completion by:                             Buyer(s)   N/A - and provided no later than (date)
      89.                                                   Said test results must be less than 4 pCi/L under closed house conditions.
      90.               4. STRUCTURAL PEST CONTROL: A professional exterminator’s report will be ordered by    Buyer(s)    N/A and paid for upon
      91.                 completion by      Buyer(s)    N/A and provided no later than (date)                                                 . In the event of active
      92.                 infestation, the    Buyer(s)    Seller(s) shall have the option of declaring this Contract null and void if the     Seller(s) or   Buyer(s)
      93.                 decline to repair such damage and/or treat the property.
      94.                      All parties are aware that if this is a VA loan, the Seller(s) will be required to pay for a termite inspection.
      95.    IF BUYER(S) DOES NOT SECURE SAID INSPECTION(S) IN A TIMELY MANNER OR PROVIDE TIMELY WRITTEN NOTICE FOR REMEDIES,
      96.    THEN BUYER(S) SHALL BE DEEMED SATISFIED AND THE INSPECTION CONTINGENCY WILL BE CONSIDERED WAIVED.
      97.    RESPONSE TO INSPECTION FINDINGS: If any inspection in lines 77-101 reveals damage from infestation or material defects or health or
      98.    safety concerns, Buyer(s) shall provide written notification of the defect(s) along with the relevant portion(s) of the inspection report(s)
      99.    and the desired corrections and deliver them to the Listing Agent within the “Inspection Period”. Upon delivery of the notice, Seller(s) shall
      100.   have three (3) business days to respond to the buyers “Inspection Summary” requests. The buyer(s) and seller(s) shall have three (3)
      101    additional business days (“Settlement Period”) to negotiate a settlement of the condition of the real estate. If settlement is not reached
      102.   within the “Settlement Period”, then this Contract shall be voidable. For purpose of this paragraph, damage from infestation or “material
      103.   defects” does not include minor or routine maintenance items.


                                                               TS
                          Buyer’s Initials                  08/20/19                                       Seller’s Initials
                                                          11:07 AM CDT
                                                         dotloop verified




                Form 018 - Purchase/Sale Contract Page 2 of 4 ©Copyright Cedar Rapids Area Association of REALTORS 2019 Revised 07/01/2019


                                                                                  (Exhibit A - Page 2)
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                 Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 23 of 88 Page ID #:23
                                                                        Form 018 - Purchase/Sale Contract Page 3 of 4

         Subject Property Address 1142 110th Avenue                                                               , Dundee                                           , Iowa
         104. SPECIAL ASSESSMENTS: Seller(s) shall pay in full all Special Assessments whether levied or pending and all certified liens of record as of the
         105. date of closing. Association fees, if any, shall also be paid current by the Seller(s) to date of closing. Any preliminary or deficiency
         106. assessments which cannot be discharged by payment at closing shall be paid through a written escrow account with sufficient funds to pay
         107. such liens when payable, with any unused funds to be returned to the Seller(s) without further signatures of the Buyer(s). All charges for
         108. solid waste, trash removal, sewage, utility bills and assessments for maintenance that are attributable to the Seller’s ownership shall be paid
         109. by the Seller(s).
         110. TAXES: The Seller(s) to be responsible for all real estate taxes that are liens on the property, including taxes that are due and payable for
         111. the fiscal year in which the closing occurs. Buyer(s) shall be given a credit for all subsequent taxes prorated to the date of closing.
         112. Subsequent taxes shall be calculated using the latest known applicable assessed value(s), roll back(s), exemption(s) and levy of record
         113. at time of closing.
         114.      There shall be no proration of subsequent taxes.
         115. One (1) year home warranty insurance policy to be ordered and paid for by:                Seller(s)   Buyer(s) No Warranty   See additional provisions
         116. NEW CONSTRUCTION: If the property is under construction or is to be constructed, this Contract shall be subject to having the
         117.   construction plans and appropriate specification approved by the parties within                       days of final acceptance of this Contract. New
         118.   construction shall have the warranties implied by law, specifically made by suppliers of materials/appliances, or specifically tendered by
         119.   the contractor. The Broker and its Agent(s) make no warranties as to the quality of construction or quality of materials.
         120.   CURRENT RENTAL PROPERTY: This Contract                   is     is not contingent upon Seller(s) providing Buyer(s) evidence of compliance with
         121.   local zoning and housing code ordinances, if applicable, unless otherwise provided with this Contract or stated in this Contract. The
         122.   following will be transferred to Buyer(s) at closing: Security/Damage Deposits/Pet Deposits            Y     N Prorated Rent        Y    N
         123.   INSURANCE: Seller(s) shall bear the risk of loss or damage to the property prior to closing. Seller(s) agrees to maintain existing hazard
         124.   insurance and Buyer(s) may purchase additional insurance. In the event of substantial damage or destruction prior to closing, this
         125.   Contract shall be null and void, unless otherwise agreed to by the parties. The property shall be deemed substantially damaged or
         126.   destroyed if it cannot be restored to its previous condition on or before the closing date, provided, however,
         127.   the Buyer(s) has the right to complete the closing and receive the insurance proceeds regardless of the extent of the damage.
         128.   ABSTRACT AND TITLE: Seller(s) shall, immediately upon request, have the Abstract of Title extended to date and submit to an attorney(s)
         129.   for a title opinion for the Buyer(s). Such attorney(s) shall be selected by the Buyer(s) or Buyer’s lender. Such Abstract of Title shall show
         130.   merchantable title in the name of the Seller(s), subject only to encumbrances and liens herein assumed and such other eencumbrances
         131.   and liens shall be paid from the proceeds of this sale. Seller(s) agrees to make every reasonable effort to promptly perfect the title in
         132.   accordance with such title opinion so that, upon conveyance, title shall be deemed marketable in compliance with this Contract, the
         133.   land title laws of the State of Iowa, and the Iowa Title Standards of the Iowa Bar Association. If this sale is on the deferred installment
         134.   plan, such other encumbrances shall not exceed the unpaid balance of the stated purchase price and shall provide for an interest rate
         135.   and terms of payment no more onerous than those agreed to in this Contract. Thereafter the Seller(s) shall not be obligated to make any
         136.   further extensions or corrections other than to show, upon full payment of the purchase price, entries subsequently caused by the Seller(s)
         137.   and satisfaction of unassumed encumbrances shown by said examination or those thereafter imposed by the Seller(s). Upon full payment
         138.   of the purchase price, Seller(s) shall deliver to Buyer(s) a general warranty deed to this property accompanied by the Abstract of Title. If
         139.   closing is delayed due to Seller’s inability to provide marketable title, this Contract shall continue in force and effect until either party
         140.   rescinds this Contract after giving seven (7) business days written notice to the other party and the Broker(s). The Seller(s) shall not be
         141.   entitled to rescind this Contract unless he has made a reasonable effort to produce marketable title in the prescribed time.
         142.   REMEDIES OF THE PARTIES: If Seller(s) fails to fulfill this Contract he will pay the Listing Broker the commission in full. The Buyer(s) shall
         143.   have the right to have all payments returned, and/or to proceed by any action at law or in equity and the Seller(s) agrees to pay costs and
         144.   reasonable attorney fees, and a receiver may be appointed. Broker may maintain an action at law against Seller(s) for the Broker’s
         145.   commission. If the Buyer(s) fails to fulfill this Contract, Seller(s) may forfeit the same as provided in Chapter 656 of the Code of Iowa, and
         146.   all payments made so far shall be forfeited, or the Seller(s) may proceed by an action at law or in equity. The Buyer(s) agrees to pay costs
         147.   and reasonable attorney fees, including the Broker’s commission. For purposes of collecting the Broker’s commission, Broker shall be
         148.   deemed a third party beneficiary to this Contract and maintain an action at law against the Buyer(s) for the collection of these fees. If
         149.   Buyer(s) or any other person or persons shall be in possession of this property or any part thereof, Buyer(s) will peaceably remove himself
         150.   and his possessions and abandon all claims to any right, title and interest in and to said property or in and to this Contract, or in default
         151.   thereof he may be treated as a tenant holding over unlawfully after the expiration of a lease and may be ousted and removed. Any
         152.   personal property remaining on the premises more than five (5) business days after the completion of such forfeiture proceeding shall be
         153.   conclusively presumed to have been abandoned by the Buyer(s) and of no value to Buyer(s), and Seller(s) may dispose of the same as
         154.   Seller(s) wishes without liability and without any right of the Buyer(s) to make claim for interest or damages.
         155.   SUCCESSORS IN INTEREST: When accepted, this Contract shall apply to and bind the heirs, executors, administrators, assigns, and
         156.   successors in interest of both parties. In case of the assignment of this Contract by either party, prompt written notice shall be given
         157.   to the other party. The liability of the Buyer(s) under this Contract shall not cease or be terminated, even though the Contract be
         158.   assigned by the Buyer(s), unless this liability is specifically released in writing by the Seller(s).
         159.   COURT APPROVAL: If the property is an asset of any estate, trust or conservatorship, this Contract is contingent upon Court approval
         160.   unless declared unnecessary by Buyer’s attorney. If necessary, the appropriate fiduciary shall promptly obtain Court approval and
         161.   conveyance shall be made by a Court Officer’s Deed.
         162.   FUNDS: It is agreed that at time of closing, funds, up to the purchase price, received from the Buyer(s) and/or Buyer’s lender may be
         163.   used to pay taxes, other liens and expenses associated with this transaction, same to be handled under the supervision of the Listing
         164.   Broker so to produce marketable title. Seller(s) hereby appoints the Listing Broker, escrow company, or lender to receive such funds and
         165.   make such payments and disbursements.


                                                               TS
                          Buyer’s Initials                  08/20/19                           Seller’s Initials
                                                          11:07 AM CDT
                                                         dotloop verified




                Form 018 - Purchase/Sale Contract Page 3 of 4 ©Copyright Cedar Rapids Area Association of REALTORS 2019 Revised 07/01/2019



                                                                              (Exhibit A - Page 3)
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                 Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 24 of 88 Page ID #:24
                                                             Form 018 - Purchase/Sale Contract Page 4 of 4

         Subject Property Address 1142 110th Avenue                                                             , Dundee                                      , Iowa
         166. GENERAL PROVISIONS: In the performance of each part of this Contract, time shall be of the essence. This Contract shall be binding
         167. on and inure to the benefit of the heirs, executors, administrators, assigns and is for the convenience of reference and shall not limit
         168. nor affect the meaning of this Contract.
         169. MEDIATION: In the event of a dispute, Buyer(s) and Seller(s) agree to consider mediation as an alternative to initiating legal action.
         170. The mediation will be conducted in accordance with the rules and procedures of a mutually agreed mediation service. Even when using
         171. mediation, parties may still seek legal remedies.
         172. DISPOSITION OF PERSONAL PROPERTY: Seller(s) agrees to remove, prior to closing or possession, whichever is later, all personal
         173. property not included in this sale, including trash and miscellaneous items. Seller(s) will be liable for any costs the Buyer(s) incurs for the
         174. removal of any of the Seller’s personal property. Any such personal property remaining on the premises shall, unless the parties have
         175. otherwise agreed, be conclusively presumed to have been abandoned by Seller(s) and of no value to Seller(s). Seller(s) will comply with
         176. this expectation at his effort and at his expense.
         177. GENDER AND NUMBER: Stated words and phrases shall be construed in the singular or plural number, and as masculine, feminine or
         178. neutral gender as may be dictated by the context of this Contract.
         179. NOTICE: Any notice required under this Contract shall be deemed given when it is received in writing either by hand delivery, fax, return
         180. receipt requested mail, or electronic mail. Persons designated for receipt of any notice for the purpose of this Contract shall be the
         181. Seller(s) and Buyer(s) or their respective agents.
         182. FINAL INSPECTION: Buyer(s) or his representative has the right to enter and inspect the premises, prior to closing, to determine if there
         183. have been any material changes in the property since the origination date of this Contract and acknowledges by deposit of final funds
         184. that the property is acceptable and all equipment is in working order.
         185. Included: all permanent fixtures, all items per attached Seller’s Property Disclosure dated on N/A                                                .
         186. and the attached Multiple Listing page with the MLS number of N/A                                 .
         187. ADDITIONAL PROVISIONS:
         188. Buyer agrees to pay for all closing costs associated to this transaction. House to remain as is and no fixtures to be removed from the home.
         189. The home is to look the same as it did on the day of showing on August 17th. Any appliances currently in the home to stay.
         190. Seller will remove personal belongings and furniture.
         191.
         192. Please be aware that the Purchase/Contract supersedes the Seller’s Property Disclosure document as well as the MLS Listing
         193. documents. This offer to purchase is made of my own free will and shall be good and binding upon the undersigned if accepted

         194. on or before (date) 08/21/2019                                      , by (time) 11:00                 a.m./      p.m.
         195.     SEE ATTACHED ADDENDUM(S)
                                                                     dotloop verified
         196. Todd Spellerberg                                       08/20/19 11:07 AM CDT
                                                                     G6RM-EL3O-SD7K-0FG1
         197. Buyer’s Signature 				                                    Date                 Buyer’s Signature				                              Date

         198. Todd Spellerberg
         199. Buyer’s Legal Name, (Printed)				                            Buyer’s Legal Name, (Printed)
         200.    SELLER’S ACCEPTANCE. The undersigned Seller(s) of the above property accepts the above offer and agrees to sell this property

         201.        according to the terms offered on this date of: (date)                                    , (time)                    a.m./  p.m.
         202.        SELLER’S REJECTION. The undersigned Seller(s) of the above property rejects this Buyer’s written offer to purchase the above

         203.        stated property. (date)                                  , (time)                  a.m./   p.m.
         204.        SELLER’S COUNTER OFFER. The undersigned Seller(s) of the above property accepts the above offer, however, counters certain

         205.        terms and conditions as per attached Counter Offer. (date)                                                   , (time)             a.m./        p.m.


         206.
         207. Seller’s Signature				                                       Date              Seller’s Signature				                             Date


         208.
         209. Seller’s Legal Name, (Printed)				                                             Seller’s Legal Name, (Printed)


                                                                   FOR BROKERS’ REFERENCE ONLY


         210. Skogman Realty                                                                 Danielle Hutchinson
               Name of Selling Company (Printed)			                                          Name of Selling Agent (Printed)


         211.
                Name of Listing Company (Printed)			                                         Name of Listing Agent (Printed)

                Form 018 - Purchase/Sale Contract Page 4 of 4 ©Copyright Cedar Rapids Area Association of REALTORS 2019 Revised 07/01/2019


                                                                         (Exhibit A - Page 4)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 25 of 88 Page ID #:25




                              (Exhibit B)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 26 of 88 Page ID #:26




 Federal Deposit Insurance Corporation

 Office of Inspector General

 3501 North Fairfax Drive

 RM# VA-D-9069

 Arlington, VA 22226



 OIG Hotline <OIGHotline@fdicoig.gov>

 Tue, Nov 30, 2021, 6:04 AM

 to me



 Thank you for your inquiry to the Federal Deposit Insurance
 Corporation (FDIC) Office of Inspector General (OIG).



 The FDIC supervises state-chartered banks that are not members
 of the Federal Reserve System. The FDIC OIG is an independent
 unit that conducts audits, investigations, and other reviews of
 FDIC programs and operations. The FDIC OIG promotes the economy,
 efficiency, and effectiveness of FDIC programs and operations,
 and protects against fraud, waste, and abuse.



 Your inquiry relates to an entity that does not fall under the
 jurisdiction of our office. The primary regulator for Bank Iowa
 is the Federal Reserve Board. Accordingly, you should forward
 your correspondence to the following entity for appropriate
 attention.




                           (Exhibit C - Page 1)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 27 of 88 Page ID #:27



 Federal Reserve Consumer Help

 PO Box 1200

 Minneapolis, MN 55480



 You may also contact them by phone at (888)-851-1920 or at this
 link: http://www.FederalReserveConsumerHelp.gov.



 We regret we are unable to assist you regarding these issues.
 Please direct all future correspondence regarding these concerns
 to the above-noted office.



 Sincerely,



 Hotline Coordinator

 Office of Inspector General

 Federal Deposit Insurance Corporation




                             (Exhibit C - Page 2)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 28 of 88 Page ID #:28




 20th Street and Constitution Avenue N.W., Washington, DC 20551




 To: brucewestin01@gmail.com

 From: Federal Reserve Consumer Help

 Subject: Federal Reserve Consumer Help Center Acknowledgement




 June 24, 2022



 Dear Bruce Westin:



 This e-mail is to acknowledge our receipt of your correspondence
 on June 20, 2022.



 The entity you are inquiring about is regulated by the Federal
 Deposit Insurance Corporation (FDIC), and we have forwarded your
 correspondence to that agency to investigate and respond to you
 directly. If you have questions about the status of the
 investigation of your complaint, please use the following
 contact information for the FDIC:



 FDIC

 Consumer Response Center

 1100 Walnut Street, Box #11

 Kansas City, MO 64106



                            (Exhibit D - Page 1)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 29 of 88 Page ID #:29




 Website: www.fdic.gov



 Phone: 877-ASK-FDIC (877-275-3342) or 800-378-9581

 TTY: 800-925-4618

 E-fax: 703-812-1020



 We hope this information is helpful to you.



 Sincerely,

 Federal Reserve Consumer Help Center



 Please do not respond to this message. If you need to contact
 us, please use the information listed below.



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                                 (Exhibit D - Page 2)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 30 of 88 Page ID #:30




                        Exhibit #1
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 31 of 88 Page ID #:31




                          Exhibit #1
                              Exhibit #1
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 32 of 88 Page ID #:32




                           Exhibit
                           Exhibit #1#1
dotloop signature verification: dtlp.us/wMJJ-xiOd-gqef

                  Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 33 of 88 Page ID #:33

                                                                     COUNTER-OFFER                                               ECIAR 4
                                                   COUNTER-OFFER NO. _______
                                                                     1       BY (Check One)    BUYER      SELLER

         1. The Purchase Contract dated 05/26/2018
                                           ___/___/____ and signed by Buyer_____________________________________________________
                                                                            Jason Gibbs
         2. for purchase of real estate at___________________________________________________________________________________
                                          1142 110th Avenue, Dundee, IA 52038
         3. is rejected and the following Counter-Offer is hereby made. All terms and conditions remain the same as stated in the Purchase
         4. Contract except the following: [CAUTION: This Counter-Offer does not include the terms or conditions in any other Counter
         5. Offer unless incorporated by reference.]
         6. PRICE TO BE: $_________________Other
                               77,500                      changes and/or additions:______________________________________________
         7.__________________________________________________________________________________________________________
           septic inspection is good until September we have time of transfer paper work
         8.__________________________________________________________________________________________________________
           seller will do water test
         9.__________________________________________________________________________________________________________
         10._________________________________________________________________________________________________________
         11._________________________________________________________________________________________________________
         12._________________________________________________________________________________________________________
         13._________________________________________________________________________________________________________
         14._________________________________________________________________________________________________________
         15._________________________________________________________________________________________________________
         16. Any Warranties, covenants and representations made in this Counter-Offer survive the closing of this transaction. This
         17. Counter-Offer is binding upon the Seller and Buyer only if a copy of the accepted Counter-Offer is delivered to the Party
         18. making the Counter-Offer on or before 05/27/2018
                                                     ___/___/____, Time 10
                                                                         ____, ___ A.M. ___P.M. (Time is of the essence). Delivery of
         19. the accepted Counter-Offer may be made in any manner specified in the Purchase Contract, unless otherwise provided in
         20. this Counter-Offer.

         21. RIGHT TO ACCEPT OTHER OFFERS: This Counter-Offer may be withdrawn by offeror at any time prior to
         22. notification, delivery and acceptance of this Counter-Offer, without liability on the part of either party or the real estate
         23. agent(s) involved. Offeror reserves the right to withdraw this Counter-Offer by notifying other party of the withdrawal
         24. prior to acceptance of his counter-Offer. Seller or Buyer may accept other offers only after properly withdrawing this
         25. Counter-Offer with delivery and notification of withdrawal. Seller may continue to receive offers and take backups offers, up to
         26. the time of settlement, and may continue to show the property.
                                                                                                              dotloop verified
                                              Leta White                                       05/26/18 11:48 AM EDT
         27. This Counter-Offer was drafted by____________________________________________________________on___/___/____
                                                                                               PPXD-U5XK-LFKH-O4TX


                                                               Agent and Firm

         28._____________________________________Date___/___/____ ___________________________________Date___/___/____
             (Signature of Party Making Counter-Offer)             (Signature of Party Making Counter-Offer)
         29. Print Name________________________________________
                         Bruce Westin                            Print Name_______________________________________

         30._____________________________________Date___/___/____ ____________________________________Date___/___/____
             (Signature of Party Accepting Counter-Offer)            (Signature of Party Accepting Counter Offer)
         31. Print Name_______________________________________ Print Name__________________________________________

         32. This Counter-Offer Was presented by__________________________________________________________on___/___/____
                                                               Agent and Firm

         33. This Counter-Offer is (check one)                REJECTED     COUNTERED: Party’s INITIAL________ Party’s INITIAL_______

         34. NOTE: Provisions from a previous Counter-Offer may be included by reproduction of the entire provision or incorporation
         35. by reference. Provisions incorporated by reference may be indicated in the subsequent Counter-Offer by specifying the
         36. Number of the provision or the lines containing the provision.

         37. NOTE: Number this Counter-Offer sequentially, e.g. Counter-Offer No. 1 by Seller, Counter-Offer 2 by Buyer, etc.
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                                                              Exhibit #2
      Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 34 of 88 Page ID #:34

                                                     COUNTER-OFFER                                                  ECIAR 4
                             COUNTER-OFFER NO.1_______ BY (Check One)                 BUYER      SELLER

1. The Purchase Contract dated 05/25/2018
                                  ___/___/____ and signed by Buyer_____________________________________________________
                                                                   Jason Gibbs
2. for purchase of real estate at___________________________________________________________________________________
                                 1142 110th Ave Dundee Ia
3. is rejected and the following Counter-Offer is hereby made. All terms and conditions remain the same as stated in the Purchase
4. Contract except the following: [CAUTION: This Counter-Offer does not include the terms or conditions in any other Counter
5. Offer unless incorporated by reference.]
6. PRICE TO BE: $_________________Other
                      77,500                      changes and/or additions:______________________________________________
7.__________________________________________________________________________________________________________
  well inspection good until Oct. will have transfer papers
8.__________________________________________________________________________________________________________
9.__________________________________________________________________________________________________________
  will have well tested again
10._________________________________________________________________________________________________________
11._________________________________________________________________________________________________________
12._________________________________________________________________________________________________________
13._________________________________________________________________________________________________________
14._________________________________________________________________________________________________________
15._________________________________________________________________________________________________________
16. Any Warranties, covenants and representations made in this Counter-Offer survive the closing of this transaction. This
17. Counter-Offer is binding upon the Seller and Buyer only if a copy of the accepted Counter-Offer is delivered to the Party
18. making the Counter-Offer on or before 05/27/2018
                                            ___/___/____, Time 10
                                                                ____, ___ A.M. ___P.M. (Time is of the essence). Delivery of
19. the accepted Counter-Offer may be made in any manner specified in the Purchase Contract, unless otherwise provided in
20. this Counter-Offer.

21. RIGHT TO ACCEPT OTHER OFFERS: This Counter-Offer may be withdrawn by offeror at any time prior to
22. notification, delivery and acceptance of this Counter-Offer, without liability on the part of either party or the real estate
23. agent(s) involved. Offeror reserves the right to withdraw this Counter-Offer by notifying other party of the withdrawal
24. prior to acceptance of his counter-Offer. Seller or Buyer may accept other offers only after properly withdrawing this
25. Counter-Offer with delivery and notification of withdrawal. Seller may continue to receive offers and take backups offers, up to
26. the time of settlement, and may continue to show the property.

27. This Counter-Offer was drafted by____________________________________________________________on___/___/____
                                                                                                   05/26/2018
                                                      Agent and Firm

28._____________________________________Date___/___/____ ___________________________________Date___/___/____
    (Signature of Party Making Counter-Offer)            (Signature of Party Making Counter-Offer)
29. Print Name________________________________________ Print Name_______________________________________

30._____________________________________Date___/___/____ ____________________________________Date___/___/____
    (Signature of Party Accepting Counter-Offer)            (Signature of Party Accepting Counter Offer)
31. Print Name_______________________________________ Print Name__________________________________________

32. This Counter-Offer Was presented by__________________________________________________________on___/___/____
                                                      Agent and Firm

33. This Counter-Offer is (check one)      REJECTED         COUNTERED: Party’s INITIAL________ Party’s INITIAL_______

34. NOTE: Provisions from a previous Counter-Offer may be included by reproduction of the entire provision or incorporation
35. by reference. Provisions incorporated by reference may be indicated in the subsequent Counter-Offer by specifying the
36. Number of the provision or the lines containing the provision.

37. NOTE: Number this Counter-Offer sequentially, e.g. Counter-Offer No. 1 by Seller, Counter-Offer 2 by Buyer, etc.
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                                             Exhibit #3
dotloop signature verification: dtlp.us/apjq-nPuJ-7YYh

                  Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 35 of 88 Page ID #:35

                                                                            COUNTER-OFFER                                           ECIAR 4
                                                   COUNTER-OFFER NO.2_______ BY (Check One)          BUYER    SELLER

         1. The Purchase Contract dated 05/25/2018
                                           ___/___/____ and signed by Buyer_____________________________________________________
                                                                            Jason Gibbs
         2. for purchase of real estate at___________________________________________________________________________________
                                          1142 110th Avenue, Dundee, IA 52038
         3. is rejected and the following Counter-Offer is hereby made. All terms and conditions remain the same as stated in the Purchase
         4. Contract except the following: [CAUTION: This Counter-Offer does not include the terms or conditions in any other Counter
         5. Offer unless incorporated by reference.]
         6. PRICE TO BE: $_________________Other changes and/or additions:______________________________________________
         7.__________________________________________________________________________________________________________
           Option A - Price to be $75,000 with $500 cash back at closing to be utilized towards stove and hood that was removed.
         8.__________________________________________________________________________________________________________
           Option B - Price to be $74,500 with no cash back allowance.
         9.__________________________________________________________________________________________________________
           Highest and best offer.
         10._________________________________________________________________________________________________________
         11._________________________________________________________________________________________________________
             Seller elects option B $74,500 with no cash back
         12._________________________________________________________________________________________________________
         13._________________________________________________________________________________________________________
         14._________________________________________________________________________________________________________
         15._________________________________________________________________________________________________________
         16. Any Warranties, covenants and representations made in this Counter-Offer survive the closing of this transaction. This
         17. Counter-Offer is binding upon the Seller and Buyer only if a copy of the accepted Counter-Offer is delivered to the Party
         18. making the Counter-Offer on or before 05/27/2018
                                                     ___/___/____, Time 10
                                                                         ____, ___ A.M. ___P.M. (Time is of the essence). Delivery of
         19. the accepted Counter-Offer may be made in any manner specified in the Purchase Contract, unless otherwise provided in
         20. this Counter-Offer.

         21. RIGHT TO ACCEPT OTHER OFFERS: This Counter-Offer may be withdrawn by offeror at any time prior to
         22. notification, delivery and acceptance of this Counter-Offer, without liability on the part of either party or the real estate
         23. agent(s) involved. Offeror reserves the right to withdraw this Counter-Offer by notifying other party of the withdrawal
         24. prior to acceptance of his counter-Offer. Seller or Buyer may accept other offers only after properly withdrawing this
         25. Counter-Offer with delivery and notification of withdrawal. Seller may continue to receive offers and take backups offers, up to
         26. the time of settlement, and may continue to show the property.

         27. This Counter-Offer was drafted by____________________________________________________________on___/___/____
                                                               Agent and Firm

         28._____________________________________Date___/___/____ ___________________________________Date___/___/____
             (Signature of Party Making Counter-Offer)            (Signature of Party Making Counter-Offer)
         29. Print Name________________________________________ Print Name_______________________________________
                                                         dotloop verified
             Bruce Westin
         30._____________________________________Date___/___/____
                                           05/27/18 2:47 PM EDT
                                                                           ____________________________________Date___/___/____
                                           63HL-VBJJ-7GK9-ERNU
                                                                05/27/2018
             (Signature of Party Accepting Counter-Offer)                     (Signature of Party Accepting Counter Offer)
         31. Print Name_______________________________________ Print Name__________________________________________
                                                                                                                 dotloop verified
                                                Leta White                                    05/27/18 2:54 PM EDT
         32. This Counter-Offer Was presented by__________________________________________________________on___/___/____
                                                                                              Q72D-HMW4-OXTK-VDXD

                                                               Agent and Firm

         33. This Counter-Offer is (check one)                        REJECTED    COUNTERED: Party’s INITIAL________ Party’s INITIAL_______

         34. NOTE: Provisions from a previous Counter-Offer may be included by reproduction of the entire provision or incorporation
         35. by reference. Provisions incorporated by reference may be indicated in the subsequent Counter-Offer by specifying the
         36. Number of the provision or the lines containing the provision.

         37. NOTE: Number this Counter-Offer sequentially, e.g. Counter-Offer No. 1 by Seller, Counter-Offer 2 by Buyer, etc.
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                                                                     Exhibit #4
dotloop signature verification: dtlp.us/Qjv4-YjP4-OxK0

                  Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 36 of 88 Page ID #:36

                                                                                  COUNTER-OFFER                                            ECIAR 4
                                                   COUNTER-OFFER NO.3_______ BY (Check One)                 BUYER    SELLER

         1. The Purchase Contract dated 05/25/2018
                                           ___/___/____ and signed by Buyer_____________________________________________________
         2. for purchase of real estate at___________________________________________________________________________________
                                          1142 110th Avenue, Dundee, IA 52038
         3. is rejected and the following Counter-Offer is hereby made. All terms and conditions remain the same as stated in the Purchase
         4. Contract except the following: [CAUTION: This Counter-Offer does not include the terms or conditions in any other Counter
         5. Offer unless incorporated by reference.]
         6. PRICE TO BE: $_________________Other
                               74500                       changes and/or additions:______________________________________________
         7.__________________________________________________________________________________________________________
           option b...price to be 74,500 with the condition that the county not need the septic and well retested. will call 5/29/18 Delaware
         8.__________________________________________________________________________________________________________
           county and speak with Dennis Lyons. Well last tested 12 PPM Nitrates and is acceptable.
         9.__________________________________________________________________________________________________________
         10._________________________________________________________________________________________________________
         11._________________________________________________________________________________________________________
         12._________________________________________________________________________________________________________
         13._________________________________________________________________________________________________________
         14._________________________________________________________________________________________________________
         15._________________________________________________________________________________________________________
         16. Any Warranties, covenants and representations made in this Counter-Offer survive the closing of this transaction. This
         17. Counter-Offer is binding upon the Seller and Buyer only if a copy of the accepted Counter-Offer is delivered to the Party
         18. making the Counter-Offer on or before 05/28/2018
                                                     ___/___/____, Time 10
                                                                         ____, ___ A.M. ___P.M. (Time is of the essence). Delivery of
         19. the accepted Counter-Offer may be made in any manner specified in the Purchase Contract, unless otherwise provided in
         20. this Counter-Offer.

         21. RIGHT TO ACCEPT OTHER OFFERS: This Counter-Offer may be withdrawn by offeror at any time prior to
         22. notification, delivery and acceptance of this Counter-Offer, without liability on the part of either party or the real estate
         23. agent(s) involved. Offeror reserves the right to withdraw this Counter-Offer by notifying other party of the withdrawal
         24. prior to acceptance of his counter-Offer. Seller or Buyer may accept other offers only after properly withdrawing this
         25. Counter-Offer with delivery and notification of withdrawal. Seller may continue to receive offers and take backups offers, up to
         26. the time of settlement, and may continue to show the property.
                                                                                                                        dotloop verified
                                              Leta White                                      05/27/18 8:34 PM EDT
         27. This Counter-Offer was drafted by____________________________________________________________on___/___/____
                                                                                              LQZD-QRMK-KYGG-BRRE


                                                               Agent and Firm
                                                         dotloop verified
             Bruce Westin                05/27/18 8:18 PM EDT
         28._____________________________________Date___/___/____
                                         KBBO-HMYI-FP5X-5MXZ      ___________________________________Date___/___/____
             (Signature of Party Making Counter-Offer)            (Signature of Party Making Counter-Offer)
         29. Print Name________________________________________ Print Name_______________________________________

         30._____________________________________Date___/___/____ ____________________________________Date___/___/____
             (Signature of Party Accepting Counter-Offer)            (Signature of Party Accepting Counter Offer)
         31. Print Name_______________________________________ Print Name__________________________________________

         32. This Counter-Offer Was presented by__________________________________________________________on___/___/____
                                                               Agent and Firm

         33. This Counter-Offer is (check one)                         REJECTED          COUNTERED: Party’s INITIAL________ Party’s INITIAL_______

         34. NOTE: Provisions from a previous Counter-Offer may be included by reproduction of the entire provision or incorporation
         35. by reference. Provisions incorporated by reference may be indicated in the subsequent Counter-Offer by specifying the
         36. Number of the provision or the lines containing the provision.

         37. NOTE: Number this Counter-Offer sequentially, e.g. Counter-Offer No. 1 by Seller, Counter-Offer 2 by Buyer, etc.
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                                                                            Exhibit #5
dotloop signature verification: dtlp.us/noun-WD0n-2pfg

                 Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 37 of 88 Page ID #:37

                                                                             COUNTER-OFFER                                           ECIAR 4
                                                 COUNTER-OFFER NO.4_______ BY (Check One)            BUYER    SELLER

         1. The Purchase Contract dated 05/25/2018
                                           ___/___/____ and signed by Buyer_____________________________________________________
                                                                            Jason Gibbs
         2. for purchase of real estate at___________________________________________________________________________________
                                          1142 110th Avenue, Dundee, IA 52038
         3. is rejected and the following Counter-Offer is hereby made. All terms and conditions remain the same as stated in the Purchase
         4. Contract except the following: [CAUTION: This Counter-Offer does not include the terms or conditions in any other Counter
         5. Offer unless incorporated by reference.]
         6. PRICE TO BE: $_________________Other
                               74500                       changes and/or additions:______________________________________________
         7.__________________________________________________________________________________________________________
           Well to be retested no later than 20 days prior to closing. Well to test at no more than 15 ppm on Nitrates and absolutely no
         8.__________________________________________________________________________________________________________
           Bacteria.
         9.__________________________________________________________________________________________________________
         10._________________________________________________________________________________________________________
         11._________________________________________________________________________________________________________
         12._________________________________________________________________________________________________________
         13._________________________________________________________________________________________________________
         14._________________________________________________________________________________________________________
         15._________________________________________________________________________________________________________
         16. Any Warranties, covenants and representations made in this Counter-Offer survive the closing of this transaction. This
         17. Counter-Offer is binding upon the Seller and Buyer only if a copy of the accepted Counter-Offer is delivered to the Party
         18. making the Counter-Offer on or before 05/29/2018
                                                     ___/___/____, Time 10
                                                                         ____, ___ A.M. ___P.M. (Time is of the essence). Delivery of
         19. the accepted Counter-Offer may be made in any manner specified in the Purchase Contract, unless otherwise provided in
         20. this Counter-Offer.

         21. RIGHT TO ACCEPT OTHER OFFERS: This Counter-Offer may be withdrawn by offeror at any time prior to
         22. notification, delivery and acceptance of this Counter-Offer, without liability on the part of either party or the real estate
         23. agent(s) involved. Offeror reserves the right to withdraw this Counter-Offer by notifying other party of the withdrawal
         24. prior to acceptance of his counter-Offer. Seller or Buyer may accept other offers only after properly withdrawing this
         25. Counter-Offer with delivery and notification of withdrawal. Seller may continue to receive offers and take backups offers, up to
         26. the time of settlement, and may continue to show the property.
                                                                                                                 dotloop verified
                                              Tracy Demmer EXIT Realty Dyersville             05/27/18 10:28 PM EDT
         27. This Counter-Offer was drafted by____________________________________________________________on___/___/____
                                                                                              RUTN-L6HC-N5VT-SQNZ


                                                                   Agent and Firm
                                                          dotloop verified
             Jason Gibbs                  05/27/18 10:35 PM
         28._____________________________________Date___/___/____
                                          EDT
                                          CHIZ-2HBQ-3YLJ-EYXA     ___________________________________Date___/___/____
             (Signature of Party Making Counter-Offer)            (Signature of Party Making Counter-Offer)
         29. Print Name________________________________________ Print Name_______________________________________
                                                         dotloop verified
             Bruce Westin
         30._____________________________________Date___/___/____
                                          05/29/18 12:24 PM EDT
                                          U9WW-PE4E-RL05-TKF7     ____________________________________Date___/___/____
             (Signature of Party Accepting Counter-Offer)            (Signature of Party Accepting Counter Offer)
         31. Print Name_______________________________________ Print Name__________________________________________
                                                                                                                  dotloop verified
                                                Leta White                                    05/29/18 11:59 AM EDT
         32. This Counter-Offer Was presented by__________________________________________________________on___/___/____
                                                                                              Q0HE-NENK-JUQV-LBLO

                                                               Agent and Firm

         33. This Counter-Offer is (check one)                         REJECTED   COUNTERED: Party’s INITIAL________ Party’s INITIAL_______

         34. NOTE: Provisions from a previous Counter-Offer may be included by reproduction of the entire provision or incorporation
         35. by reference. Provisions incorporated by reference may be indicated in the subsequent Counter-Offer by specifying the
         36. Number of the provision or the lines containing the provision.

         37. NOTE: Number this Counter-Offer sequentially, e.g. Counter-Offer No. 1 by Seller, Counter-Offer 2 by Buyer, etc.
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                                                                     Exhibit #6
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 38 of 88 Page ID #:38
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 39 of 88 Page ID #:39
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 40 of 88 Page ID #:40
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 41 of 88 Page ID #:41
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 42 of 88 Page ID #:42
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 43 of 88 Page ID #:43
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 44 of 88 Page ID #:44
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 45 of 88 Page ID #:45




                                  Exhibit 8
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 46 of 88 Page ID #:46




                              Exhibit 8
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 47 of 88 Page ID #:47
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 48 of 88 Page ID #:48
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 49 of 88 Page ID #:49
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 50 of 88 Page ID #:50
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 51 of 88 Page ID #:51
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 52 of 88 Page ID #:52
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 53 of 88 Page ID #:53
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 54 of 88 Page ID #:54
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 55 of 88 Page ID #:55
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 56 of 88 Page ID #:56
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 57 of 88 Page ID #:57
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 58 of 88 Page ID #:58
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 59 of 88 Page ID #:59
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 60 of 88 Page ID #:60
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 61 of 88 Page ID #:61
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 62 of 88 Page ID #:62
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 63 of 88 Page ID #:63
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 64 of 88 Page ID #:64
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 65 of 88 Page ID #:65
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 66 of 88 Page ID #:66
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 67 of 88 Page ID #:67
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 68 of 88 Page ID #:68
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 69 of 88 Page ID #:69
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 70 of 88 Page ID #:70
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 71 of 88 Page ID #:71
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 72 of 88 Page ID #:72
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 73 of 88 Page ID #:73
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 74 of 88 Page ID #:74
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 75 of 88 Page ID #:75
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 76 of 88 Page ID #:76
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 77 of 88 Page ID #:77
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 78 of 88 Page ID #:78
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 79 of 88 Page ID #:79
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 80 of 88 Page ID #:80
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 81 of 88 Page ID #:81
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 82 of 88 Page ID #:82
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 83 of 88 Page ID #:83
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 84 of 88 Page ID #:84




                           (Exhibit 35)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 85 of 88 Page ID #:85




                             (Exhibit 36)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 86 of 88 Page ID #:86




                             (Exhibit 37)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 87 of 88 Page ID #:87




                             (Exhibit 38)
Case 2:22-cv-04600-FMO-GJS Document 1 Filed 07/06/22 Page 88 of 88 Page ID #:88




                            (Exhibit 39)
                           (Exhibit    42)
